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10
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11    TODD WILLIAMSON
12
13                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
14
15
      TODD WILLIAMSON, an individual,             Case No.
16
               Plaintiff,
17
                                           COMPLAINT FOR VIOLATIONS
          v.
18                                         OF: AMERICANS WITH
19    FRANCHISE REALTY INTERSTATE DISABILITIES ACT OF 1990, 42
      CORPORATION, a Georgia corporation; U.S.C. § 12181, et seq.; UNRUH
20    MCDONALD’S CORPORATION, a            CIVIL RIGHTS ACT, CALIFORNIA
21    Delaware corporation; and DOES 1-10, CIVIL CODE § 51, et seq.

22             Defendants.                        DEMAND FOR BENCH TRIAL
23
24
25
          Landlords demonize access cases and often deviously foist the overdue
26
         remediation costs onto business owners who lease their land, all the while
27
28
                 protesting in litigation, tying up the Court. The secret is out.


                                          COMPLAINT
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  1          Plaintiff Todd Williamson (hereinafter referred to as “Plaintiff”) complains
  2
      of Defendants Franchise Realty Interstate Corporation, a Georgia corporation;
  3
  4   McDonald’s Corporation, a Delaware corporation and Does 1-10 (each,

  5   individually a “Defendant,” and collectively “Defendants”), and alleges as follows:
  6
        I.     INTRODUCTION: THE CROSSROADS OF CIVIL RIGHTS AND
  7
  8                         PRIVATE INFRASTRUCTURE REFORM
  9          The landlord community has demonized ADA lawsuits in order to avoid
10
      compliance with Federal law. Landlords often use heavy handed leases which
11
12    unfairly and secretly foist the responsibility of access law compliance of their
13    property onto the shoulders of the unfortunate business owner/lessor who does not
14
      see the landmine in the lease. Inevitable lawsuits by customers against landlords
15
16    who own the non-compliant property asking for legally required features in the
17    property are then mischaracterized as attacks on the unfortunate business
18
      owner/lessor by dastardly customers. This cynical and unfair tactic has caused
19
20    administrative headaches for the courts which must deal with emotional and
21
      unnecessary litigation and has obscured the truth. In reality, the landlords’ goal is to
22
      save money by failing to bring the property into compliance and then when caught,
23
24    blame the disabled customer and force the remediation costs upon the business
25
      owner. The landlord is the predator. Here are the facts:
26
             Mass Non-Compliance with the ADA. Many places are dilapidated and need
27
28
                                           2
                                       COMPLAINT
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  1   remediation. Non-compliance is rampant. Many if not most places are not fully
  2
      compliant with access laws. Many properties have terribly dilapidated pavement,
  3
  4   vandalized or missing access signage, incorrectly designed paths and have

  5   restrooms which are unusable for disabled people. These problems are common and
  6
      egregious in many places.
  7
  8          No Government Oversight. The government will not provide inspections or
  9   monitoring of the vast swaths of privately owned land and buildings used by
10
      people. Incorrectly designed features will stay non-compliant. Many features will
11
12    also erode with time from long term heavy usage, weather/climate ware, vandalism,
13    etc.
14
             Private Infrastructure Reform. The remediation and improvement to these
15
16    properties is good for business. Improvements which better the land and bring the
17    property into compliance with Federal law increase the property value and make the
18
      areas more appealing for customers.
19
20           Remediation Costs are Tiny Compared to the Wealth of the Landlord.
21           The costs of remediation in many instances are a tiny fraction of the income
22
      of most landlords, who typically own multiple commercial properties and are in the
23
24    landlord business. The landlord that owns one property is indeed a rare creature in
25
      California. The value of the building, improvements and land for most properties,
26
      coupled with other properties owned, dwarfs the negligible expenses of
27
28
                                          3
                                      COMPLAINT
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  1   remediation, which incidentally should have been made already without the need
  2
      for a lawsuit. The lawsuit is an unfortunate byproduct of the landlord’s original
  3
  4   refusal to follow the law. The landlord saved and avoided those costs until the case.

  5         Need for these cases. Despite the history of access cases there is still mass
  6
      non-compliance. The deterrent effect has not been enough to bring about
  7
  8   remediation such that these cases discontinue and are growing. Until the legislative
  9   intent arises to change the law so that government inspectors appear on the streets
10
      monitoring and enforcing access laws, these cases will be essential and important to
11
12    giving access to all and to improving the landscape for all customers.
13
14
15                                      II.    PARTIES
16
            1.     Plaintiff Todd Williamson suffers from cerebral palsy. He has great
17
18    difficulty with mobility. His posture, movement, and reflexes are impaired. His

19    upper body strength is impaired. He relies on a walker for mobility and has great
20
      difficulty moving his body. Plaintiff’s cerebral palsy impairs his ability to walk,
21
22    move, and interact with people and objects around him. He is a disabled person

23    entitled to the protections of the California Unruh Civil Rights Act (UCRA) (see
24
      Cal. Civ. Code §§ 51, et seq., 52, et seq.), the Americans with Disabilities Act
25
26    (ADA) (see 42 U.S.C. § 12102, et seq.), and other statutory laws which protect the

27    rights of “disabled persons.” Plaintiff has been issued a blue permanent Disabled
28
                                           4
                                       COMPLAINT
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  1   Person Parking Placard, by the State of California. Plaintiff is a California resident
  2
      with physical disabilities.
  3
  4         2.     Defendant Franchise Realty Interstate Corporation, a Georgia

  5   corporation; McDonald’s Corporation, a Delaware corporation owned the property
  6
      (the “Property”), located at 2810 S. Figueroa St., Los Angeles, CA 90007.
  7
  8         3.     There is a business establishment on the Property named
  9   “McDonald’s,” (hereinafter, “the business”).
10
            4.     The business is a public accommodation as defined by 42 U.S.C. §
11
12    12181(7).
13          5.     DOES 1 through 10 were at all relevant times lessors, lessees, property
14
      owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
15
16    corporate officers, managers, principles, and/or representatives of Defendants.
17    Plaintiff is unaware of the true names and capacities of Defendants sued herein as
18
      DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
19
20    names. Plaintiff requests that the Court grant leave to amend this complaint to
21
      allege the true names and capacities when determined by whatever source.
22
            6.     Defendants, at all relevant times, were relevant to this action; were the
23
24    owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
25
      agents, affiliates, employees, employers, representative partners, subsidiaries,
26
      partner companies, and/or joint venturers of the remaining Defendants; and were
27
28
                                           5
                                       COMPLAINT
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  1   acting within the course and scope of that relationship. Upon information and
  2
      belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
  3
  4   authorized the acts alleged of each of the remaining Defendants.

  5          7.     Plaintiff visited the public accommodations owned, leased, and/or
  6
      operated by Defendants with the intent to purchase and/or use the goods, services,
  7
  8   facilities, privileges, advantages, and/or accommodations offered by Defendants.
  9                            III.    JURISDICTION & VENUE
10           8.     This Court has subject matter jurisdiction over this action pursuant to
11
      28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
12
13           9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
14
      action, arising from the same nucleus of operative facts, and arising out of the same
15
      transactions, is also brought under the UCRA, which expressly incorporates the
16
17    ADA.
18
             10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
19
      the real property which is the subject of this action is located in this district, and
20
21    Plaintiff’s cause of action arose in this district.
22
23
                                            IV.    FACTS
24
25           11.    The Property is a facility which is open to the public and includes
26
      business establishments.
27
28
             12.    The Property has been newly constructed and/or underwent
                                             6
                                         COMPLAINT
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  1   remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
  2
      to comply with California access standards which applied at the time of each new
  3
  4   construction and/or alteration, and/or failed to maintain accessible features in

  5   operable working condition.
  6
            13.    Plaintiff visited the Property during the relevant statutory period on
  7
  8   two (2) separate occasions, in January 2022 and January 2022 to patronize the
  9   business on the Property.
10
            14.    Defendants did not offer persons with disabilities with equivalent
11
12    facilities, privileges, and advantages offered by Defendants to other patrons.
13          15.    Plaintiff encountered barriers, both physical and intangible, that
14
      interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,
15
16    privileges, and/or accommodations offered at the Property.
17          16.    Parking is one of the facilities, privileges, and advantages offered by
18
      Defendants to patrons of the Property.
19
20          17.    However, there was no accessible parking for disabled patrons at the
21
      Property. The parking spaces designated for disabled persons did not comply with
22
      the ADA.
23
24          18.    The parking area did not comply with the applicable California
25
      Building Code (CBC).
26
            19.    When Plaintiff visited the Property, he experienced access barriers
27
28
                                           7
                                       COMPLAINT
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  1   related to parking, signage, paths of travel, and restrooms.
  2
            20.    Plaintiff encountered the following barriers, conditions, and/or
  3
  4   violations at the Property:

  5         The property which serves McDonald’s has many violations of the
  6
            ADAAG which are barriers to somebody like Plaintiff. There are major
  7
  8         problems related to damaged and uneven surfaces. Some of the
  9         pavement distresses are from damage (such as cracks in the asphalt),
10
            some from bad design or installation (for example uneven pavement).
11
12          There are many other problems as well.
13
14
            VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC
15
16          § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
17          accessible route of travel is not provided to all entrances and portions of the
18
            building, to all entrances of the Property, and/or between the building and a
19
20          public way. Plaintiff needs a dedicated path of travel, free of obstructions
21          and vehicles, where (on which) Plaintiff can travel. It is dangerous for
22
            Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
23
24          the violation interferes with Plaintiff’s ability to fully access the premises.
25
26
27          VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
28
                                           8
                                       COMPLAINT
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  1        206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §
  2
           1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.
  3
  4        (Accessible route of travel.) At least one accessible route shall be provided

  5        within the site from accessible parking spaces and accessible passenger
  6
           loading zones; public streets and sidewalks; and public transportation stops to
  7
  8        the accessible building or facility entrance they serve. At least one accessible
  9        route shall connect accessible buildings, accessible facilities, accessible
10
           elements, and accessible spaces that are on the same site. The requisite
11
12         accessible route of travel is not provided. There is no accessible route of
13         travel from the designated disabled parking spaces, adjacent access aisle to
14
           the business/building entrance. Plaintiff needs an accessible route of travel,
15
16         with level and smooth ground, free of obstructions and vehicles, whereupon
17         Plaintiff can ambulate. It is dangerous for Plaintiff to travel these areas
18
           without a safe, protected, accessible route of travel; thus, the violation
19
20         interferes with Plaintiff’s ability to fully access the premises. The lack of a
21         safe and accessible route, with a smooth and level surface, denied Plaintiff
22
           full and equal use or access during each of Plaintiff’s visits by making it
23
24         difficult/ harder for Plaintiff to traverse.
25
26
           VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §
27
28
                                           9
                                       COMPLAINT
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   1        11B-403.3. (Route/path of travel – cross slopes.) The cross slopes of the
   2
            route/path of travel are greater than two percent (2%). It is difficult for
   3
   4        Plaintiff to travel on surfaces with excess slopes. Plaintiff is at risk of falling

   5        when there are surfaces with excess slopes. The presence of excess slopes
   6
            denied Plaintiff full and equal use or access during Plaintiff’s visits by
   7
   8        making it difficult and/or uncomfortable for Plaintiff to traverse the
   9        property/route. The barrier also deterred/deters Plaintiff from visiting the
  10
            Property because it would make it difficult and/or uncomfortable for
  11
  12        Plaintiff to walk/traverse the property/route.
  13
  14
            VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,
  15
  16        303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019
  17        CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt
  18
            changes in level; uneven ground surface.) Floor and ground surfaces shall be
  19
  20        stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
  21        shall be permitted to be vertical and without edge treatment. Changes in
  22
            level between ¼-inch high minimum and ½-inch high maximum shall be
  23
  24        beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
  25
            inch high shall be ramped. The route of travel, including from the designated
  26
            disabled parking space to the entrance of the building/business, have an
  27
  28
                                          10
                                       COMPLAINT
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   1        uneven ground surface with changes in level exceeding one-half inch (1/2")
   2
            (and no ramps are provided). The route of travel has damaged ground which
   3
   4        is not flush or flat. The ground has pavement distresses. These pavement

   5        distresses are made worse and exacerbated by design elements which do not
   6
            follow the ADAAG. These areas should be fixed immediately because they
   7
   8        pose a tripping and/or falling hazard. Plaintiff, a cannot safely and fully
   9        enjoy the premises when such conditions are present. These excess changes
  10
            in level and uneven ground surfaces pose risks to Plaintiff, including that
  11
  12        Plaintiff’s foot, may catch on the uneven ground causing Plaintiff to fall.
  13        These abrupt changes in level pose an increased risk of danger to Plaintiff, as
  14
            Plaintiff is more likely to trip/fall than someone without disabilities. The
  15
  16        excess changes in level (i.e., uneven ground) denied Plaintiff full and equal
  17        use or access during each of Plaintiff’s visits by making it difficult/harder
  18
            and more dangerous for Plaintiff to traverse the property/route. The excess
  19
  20        changes in level (i.e., uneven ground) also deterred/deters Plaintiff from
  21
            visiting the Property because it would be difficult/harder and more dangerous
  22
            for Plaintiff to traverse the property/route.
  23
  24
  25
            VIOLATION of 2010 CBC § 1133B.7.1. (Walks/sidewalks minimum
  26
            width.) The walk into the business does not have a minimum width of forty-
  27
  28
                                          11
                                       COMPLAINT
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   1        eight inches (48"). Plaintiff needs extra space to be able to safely access the
   2
            business.
   3
   4
   5        VIOLATION of 2010 CBC § 1133B.7.1; 1991 § ADAS § 4.3.8. (Walks/
   6
            sidewalks – changes in level.) The walk leading into the business does not
   7
   8        have a continuous common surface because there are abrupt changes in level
   9        of more than one-half inch (1/2"). Plaintiff cannot fully enjoy the premises
  10
            because these conditions pose a risk that, among other things, Plaintiff may
  11
  12        fall and/or that Plaintiff’s foot may become trapped in an uneven surface.
  13
  14
            VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
  15
  16        11B-502.2. (Width of designated disabled parking space.) The designated
  17        disabled parking space measured/measures less than nine feet (9') wide,
  18
            which made (would make) it difficult for Plaintiff to use the designated
  19
  20        space, and which denied (would deny) plaintiff full and equal use and access
  21        of the full width of the required space. The paint used for the accessible
  22
            parking space lines are so faded and worn that it is difficult to identify the
  23
  24        actual dimensions of the space. Plaintiff cannot safely disembark from the
  25
            vehicle when adequate space is not provided. Plaintiff needs to be able to
  26
            use the designated disabled parking space, which should be located closest to
  27
  28
                                          12
                                       COMPLAINT
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   1        the entrance and linked to an accessible route of travel, because it is more
   2
            difficult for Plaintiff, as opposed to non-disabled persons to maneuver about
   3
   4        the Property.

   5
   6
            VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.1; 2010 CBC §
   7
   8        1129B.3; 2019 CBC 11B-502.3.1. (Width of adjacent access aisle.) The
   9        loading/unloading access aisle adjacent to the designated disabled parking
  10
            space is/was less than five feet (5') wide, which denied (would deny) plaintiff
  11
  12        full and equal use and access of the full width of the required access aisle.
  13        Plaintiff needs extra space to be able to safely exit the vehicle. When the
  14
            access aisle is too small, Plaintiff has difficulty disembarking from the
  15
  16        vehicle, which poses a greater risk of injury to Plaintiff and can also cause
  17        humiliation and/or frustration.
  18
  19
  20        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2016 CBC §§
  21        11B-502.4, 11B-502.3.3; 2010 CBC § 1129B.3.4. (Slope of designated
  22
            disabled parking spaces.) The designated disabled parking spaces have
  23
  24        slopes and cross slopes that are greater than two percent (2%). Given
  25
            Plaintiff’s mobility issues, Plaintiff needs to be able to traverse on a level
  26
            surface. Sloped ground surfaces pose risks to Plaintiff, including that
  27
  28
                                          13
                                       COMPLAINT
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   1        Plaintiff’s feet may catch on the sloped ground, causing Plaintiff to fall.
   2
   3
   4        VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §

   5        1129B.3.3; 2019 CBC § 11B-502.4. (Slopes of adjacent access aisle.) The
   6
            loading/unloading access aisle adjacent to the designated disabled parking
   7
   8        spaces has surface slopes greater than two percent (2%). Given Plaintiff’s
   9        mobility issues, Plaintiff needs to be able to traverse on a level surface.
  10
            Sloped ground surfaces pose risks to Plaintiff, including that Plaintiff’s feet
  11
  12        may catch on the sloped ground, causing Plaintiff to fall.
  13
  14
            VIOLATION of 1991 ADAS §§ 4.3.8, 4.5.2; 2010 ADAS §§ 302.1, 303.2,
  15
  16        303.3, 303.4, 403.2; 2010 CBC §§ 1133B.7.1, 1133B.7.4; 2019 CBC §§
  17        11B-302.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-403.2. (Changes in level
  18
            – designated disabled parking space.) There are excess changes in level (of
  19
  20        more than one-half inch) within the parking spaces reserved for disabled
  21        patrons. The asphalt is uneven, and has depressions, dips, and divots. The
  22
            ground has sunken and cracked parts. This makes travelling in this area
  23
  24        difficult. These excess changes in level and uneven ground surfaces pose
  25
            risks to Plaintiff, including that Plaintiff may fall.
  26
  27
  28
                                          14
                                       COMPLAINT
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   1         VIOLATION of 2010 ADAS § 216.6, 1991 ADAS § 216.6, 2016 CBC §
   2
             11B-216.6. (Accessible entrance.) In buildings where not all entrances are
   3
   4         accessible, the entrance(s) that are accessible and usable by persons with

   5         disabilities must be identified. There is no International Symbol of
   6
             Accessibility at the front entrance. There is no directional signage at
   7
   8         inaccessible entrances to indicate the route to the nearest accessible entrance.
   9
  10
             21.    Plaintiff personally encountered the foregoing barriers, conditions,
  11
  12   and/or violations.
  13         22.    These barriers, conditions, and/or violations denied Plaintiff full and
  14
       equal access, and caused him difficulty, humiliation, and/or frustration.
  15
  16         23.    The barriers, conditions, and/or violations existed during each of
  17   Plaintiff’s visits in 2020 and 2021.
  18
             24.    Defendants knew that the foregoing architectural barriers prevented
  19
  20   access. Plaintiff will prove that Defendants had actual knowledge that the
  21
       architectural barriers prevented access, and that the noncompliance with the ADA
  22
       Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
  23
  24   Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
  25
       was intentional.
  26
             25.    Plaintiff intends and plans to visit the Property again soon. Currently,
  27
  28
                                           15
                                        COMPLAINT
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   1   Plaintiff is reasonably deterred from returning to Defendants’ public
   2
       accommodation facilities because of the knowledge of barriers to equal access,
   3
   4   relating to Plaintiff’s disabilities, that continue to exist at the Property.

   5          26.    Defendants have failed to maintain in working and useable condition
   6
       those features necessary to provide ready access to persons with disabilities.
   7
   8          27.    Defendants have the financial resources (i.e., financial ability) to
   9   remove these barriers without much expense or difficulty in order to make the
  10
       Property more accessible to their mobility impaired customers (i.e., disabled
  11
  12   persons). The removal of these barriers is readily achievable. The United States
  13   Department of Justice has determined that removal of these types of barriers is
  14
       readily achievable.
  15
  16          28.    Defendants refuse to remove these barriers.
  17          29.    On information and belief, Plaintiff alleges that Defendants’ failure to
  18
       remove these barriers was/is intentional, because the barriers are logical and
  19
  20   obvious. During all relevant times, Defendants had authority, control, and
  21
       dominion over these conditions. Thus, the absence of accessible facilities was/is
  22
       not a mishap; it was/is the result of intentional actions or inaction.
  23
  24          30.    These barriers to access are described herein without prejudice to
  25
       Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
  26
       agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
  27
  28
                                             16
                                          COMPLAINT
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   1   (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
   2
       have all barriers that relate to his or her disability removed, regardless of whether
   3
   4   he or she personally encountered them).

   5                  IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
   6
                        AMERICANS WITH DISABILITIES ACT OF 1990
   7
   8                                  (42 U.S.C. § 12101, et seq.)
   9                                   (Against All Defendants)
  10
                31.    Plaintiff alleges and incorporates by reference each and every
  11
  12   allegation contained in all prior paragraphs of this complaint.
  13            32.    Title III of the ADA prohibits discrimination against any person on the
  14
       basis of disability in the full and equal enjoyment of the goods, services, facilities,
  15
  16   privileges, advantages, or accommodations of any place of public accommodation
  17   by any person who owns, leases, or operates a place of public accommodation. 42
  18
       U.S.C. § 12182(a).
  19
  20            33.    Defendants discriminated against Plaintiff by denying him “full and
  21
       equal enjoyment” and use of the goods, services, facilities, privileges, and/or
  22
       accommodations they offered during each visit, and each incident of a deterred
  23
  24   visit.
  25
                34.    The acts and omissions of Defendants herein were/are in violation of
  26
       Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
  27
  28
                                             17
                                          COMPLAINT
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   1   et seq.
   2
                 35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
   3
   4   modifications in policies, practices or procedures, when such modifications are

   5   necessary to afford goods, services, facilities, privileges, advantages or
   6
       accommodations to individuals with disabilities, unless the entity can demonstrate
   7
   8   that making such modifications would fundamentally alter the nature of such goods,
   9   services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
  10
       12182(b)(2)(A)(ii).
  11
  12             36.   The ADA requires removal of architectural barriers in existing
  13   facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
  14
       (“discrimination includes … a failure to remove architectural barriers, and
  15
  16   communication barriers that are structural in nature, in existing facilities, … where
  17   such removal is readily achievable”). The term “readily achievable” is defined as
  18
       “easily accomplishable and able to be carried out without much difficulty or
  19
  20   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
  21
       Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
  22
       ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
  23
  24   Appendix A.
  25
                 37.   If removal of any barrier is not readily achievable, a failure to make
  26
       goods, services, facilities, or accommodations available through alternative
  27
  28
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   1   methods is also prohibited if the alternative methods are readily achievable. 42
   2
       U.S.C. § 12182(b)(2)(A)(v).
   3
   4         38.    Defendants can remove the architectural barriers at their facility

   5   without much difficulty or expense. Defendants violated the ADA by failing to
   6
       remove the barriers because removal was readily achievable. For instance, there
   7
   8   are companies which can repaint parking areas for as little as $350. Defendants can
   9   afford such costs, which are a fraction of what Defendants receive in (rental or
  10
       business) profits in connection with such a large and expensive property.
  11
  12         39.    Alternatively, if it was not “readily achievable” for Defendants to
  13   remove barriers at their facilities, Defendants violated the ADA by failing to make
  14
       their services available through alternative methods which are readily achievable.
  15
  16         40.    On information and belief, Plaintiff alleges that the facility was altered
  17   after January 26, 1992, mandating compliance with accessibility requirements
  18
       under the ADA.
  19
  20         41.    The ADA requires that facilities altered in a manner that affects or
  21   could affect their usability must be made readily accessible to individuals with
  22
       disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
  23
  24         42.    Defendants altered the facilities at the Property in a manner that
  25
       violated the ADA, and/or failed to make the Property readily accessible to
  26
       physically disabled persons to the maximum extent feasible.
  27
  28
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   1         43.    The ADA also requires reasonable modifications in policies, practices,
   2
       or procedures, when such modifications are necessary to afford goods, services,
   3
   4   facilities, privileges, advantages, or accommodations to individuals with

   5   disabilities, unless the entity can demonstrate that making such modifications
   6
       would fundamentally alter the nature of such goods, services, facilities, privileges,
   7
   8   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
   9         44.    Defendants violated the ADA by failing to make reasonable
  10
       modifications in policies, practices, or procedures at the Property when these
  11
  12   modifications were necessary to afford (and would not fundamentally alter the
  13   nature of) the goods, services, facilities, privileges, advantages, or accommodations.
  14
             45.    Plaintiff seeks a finding from this Court that Defendants violated the
  15
  16   ADA, so that he may pursue damages under California’s Unruh Civil Rights Act.
  17         46.    Here Defendants’ failure to make sure that accessible facilities were
  18
       available to, and ready to be used by, Plaintiff was/is a violation of law.
  19
  20         47.    Plaintiff would like to continue to frequent the Property, which is close
  21   to his home. However, he is deterred from doing so because he has been
  22
       discriminated against and is aware of accessibility barriers at the Property.
  23
  24         48.    Among the remedies sought, Plaintiff seeks an injunction order
  25
       requiring compliance with federal and state disability access laws, and remediation
  26
       of the existing access violations (i.e., removal of the existing barriers) at the
  27
  28
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   1   Property.
   2
                   V. SECOND CAUSE OF ACTION: VIOLATION OF THE
   3
   4                             UNRUH CIVIL RIGHTS ACT

   5                                 (Cal. Civ. Code §§ 51-53)
   6
                                     (Against All Defendants)
   7
   8         49.    Plaintiff repleads and incorporates by reference, as though fully set
   9   forth herein, the allegations contained in all prior paragraphs of this complaint.
  10
             50.    California Civil Code § 51 states, in part: “All persons within the
  11
  12   jurisdictions of this state are entitled to the full and equal accommodations,
  13   advantages, facilities, privileges, or services in all business establishments of every
  14
       kind whatsoever.”
  15
  16         51.    California Civil Code § 51 also states, in part: “No business
  17   establishment of any kind whatsoever shall discriminate against any person in this
  18
       state because of the disability of the person.”
  19
  20         52.    California Civil Code § 51(f) specifically incorporates, by reference,
  21
       an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
  22
             53.    The UCRA also provides that a violation of the ADA, or California
  23
  24   state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
  25
       see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
  26
       1994).
  27
  28
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   1          54.    Defendants’ above-mentioned acts and omissions have violated the
   2
       UCRA by denying Plaintiff his rights to full and equal use of the accommodations,
   3
   4   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s

   5   disability.
   6
              55.    Defendants’ above-mentioned acts and omissions have also violated
   7
   8   the UCRA by denying Plaintiff his rights to equal access pursuant to the ADA; and,
   9   thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
  10
              56.    Because Defendants’ violation of the UCRA resulted in difficulty,
  11
  12   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
  13   responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
  14
       //
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  16   //
  17   //
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   1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
   2
       He seeks actual damages, and statutory minimum damages of four thousand dollars
   3
   4   ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied full and

   5   equal access).
   6
                                      PRAYER FOR RELIEF
   7
   8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
   9         1. For injunctive relief compelling Defendants to comply with the
  10
                   Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
  11
  12               Plaintiff is not invoking section 55 of the California Civil Code and is not
  13               seeking injunctive relief under the Disabled Persons Act.
  14
             2. Damages under the Unruh Civil Rights Act, which provides for actual
  15
  16               damages and statutory minimum damages of $4,000 per each offense.
  17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
  18
                   to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
  19
  20                                            DEMAND
  21
             Plaintiff demands a bench trial on all issues so triable.
  22
  23
       Dated: April 3, 2022               THE LAW OFFICE OF HAKIMI & SHAHRIARI
  24
                                          By:    /s/ Peter Shahriari
  25                                             PETER SHAHRIARI, ESQ.
  26                                             Attorney for Plaintiff Todd Williamson

  27
  28
                                             23
                                          COMPLAINT
